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United States Bankruptcy Court
District Of _MICHIGAN

IN RE. Morgan, Nancy

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true

and correct to the best of my/our knowiedge and that it corresponds to the creditors listed

pate: 123104 VA Wine
Debtor () (

in my/our schedules.

Joint Debtor

ClsOlKY 82 Gn BSQ2

bia
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At&t Uverse
Po Box 5014
Carol Stream IL 60197-5014

Bank Of America
Po Box 650070
Dallas TX 75265-0070

Billmelater
Po Box 105658
Atlanta GA 30348

Bictech Clinical
Laboratory

24669 Indoplex Circle
Farmington Hills MI
48335-2527

Capitalona
Po Box 6492
Carol Stream IL 60197-6492

Capitalone
Po Box 6492
Carol Stream IL 60197-6492

Chase Cardmember Service
United Collection Bureau
Po Box 1418

Maumee OH 43537

Chase Cardmember Service
United Collection Bureau
Po Box 1418

Maumee OH 43537
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Chase Cardmember Service
Mann Bracken Lip

Po Box 3208

Huntersville NC 28070

Chase Cardmember Services
Po Box 15548
Wilmington DE 19886-5548

Chase Cardmember Services
Po Box 15548
Wilmington DE 19886-5548

Chase Cardmember Services
Po Box 15548
Wilmington DE 19986-5548

Chase Cardmember Services
Po Box 15548
Wilmington DE 19886-5548

Chase Cardmember Services
Po Box 15548
Wilmington DE 19886-5548

Citi Cards
Po Box 688903
Des Moilnes IA 50368-8903

Citibank
100 Citibank Drive
San Antonio TX 78245
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Clerk Of Courts
429 North Michigan St.
Toledo OH 43604

Columbia Gas Of Ohio
Po Box 742510
Cincinnati OH 45274-2510

Dish Network
Dept. 0063
Palantine IL 60055-0063

Hebc Card Services
Po Box 5222
Carol Stream IL 60197-5222

Hsbe Credit Card
Union Plus Credit Card
Po Box 60102

City Of Industry CA
91716-0102

Hebc Retail Services
Po Box 5238
Carol Stream IL 60197-5238

Key Bank
3360 Stickney Ave
Toledo OH 43608

Mq¢c Collection Services
Po Box 140700
Toledo OH 43614
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Paypal Plus
Po Box 960080
Orlando FL 32896-0080

Rocky River Urgent Care
19895 Detroit Rd.
Rocky River OH 44116

Treasurer Of Lucas County
One Government Center #500
Toledo OH 43607-2253

Valley First Credit Union
Po Box 1411
Modesto CA 95353-1411

Valleybrook Clinic Inc.
2526 N. Reynolds Rd.
Toledo OH 43615

West Asset Management
Po Box 790113
St. Louis MO 63179-0113

Zwicker & Associates, P.c.
Po Box 101145
Birmingham AL 35210-6145
